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PATRICIA S. DODSZUWEIT            UNITED STATES COURT OF APPEALS                     TELEPHONE
                                             FOR THE THIRD CIRCUIT                  215-597-2995
          CLERK                        21400 UNITED STATES COURTHOUSE
                                              601 MARKET STREET
                                          PHILADELPHIA, PA 19106-1790
                                       Website: www.ca3.uscourts.gov

                                              April 15, 2025



Tyler J. Domino
Sidley Austin
787 Seventh Avenue
New York, NY 10019

Alan C. Raul
Sidley Austin
1501 K Street NW
Washington, DC 20005


RE: Atlas Data Privacy Corp, et al v. MyHeritage Ltd, et al
Case Number: 25-1579
District Court Case Number: 1:24-cv-04392

Dear Counsel:

Pursuant to our docketing letter dated March 31, 2025, you were requested electronically file or
complete the following in the above-entitled case:

Appearance Form
Concise Summary of the Case
Disclosure Statement
Information Statement
Transcript Purchase Order Form


The above listed forms must be completed within fourteen (14) days of the date of this letter.
The forms are available at this court's website.

IF YOU FAIL TO COMPLY, THE CASE WILL BE DISMISSED PURSUANT TO 3d Cir.
L.A.R MISC. 107.1(b) and/or 107.2(a).

Very truly yours,
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Patricia S. Dodszuweit, Clerk


By: s/Laurie
Case Manager
267-299-4936
cc: David Boies, Esq.
Kashif T. Chand, Esq.
Liza B. Fleming, Esq.
Mark C. Mao, Esq.
Jessica A. Merejo, Esq.
Eric M. Palmer, Esq.
Rajiv D. Parikh, Esq.
Samantha D. Parrish, Esq.
Adam R. Shaw, Esq.
Michael L. Zuckerman, Esq.
